      Case 1-15-01027-ess             Doc 17       Filed 06/21/17    Entered 06/21/17 15:23:37




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
-------------------------------------------------------------X
In re:


QUADROZZI CONCRETE CORP., et ano.,                                  Case No. 13-44180-ess



                                    Debtors.
-------------------------------------------------------------X
COLLAVINO CONSTRUCTION COMPANY,
INC.,

                                   Plaintiff,                       Adv. Pro. No. 15-1027-ess

                 vs.

QUADROZZI CONCRETE CORP.
QUADROZZI EQUIPMENT LEASING CORP.,
iCRETE LLC, PATRICK QUADROZZI,
HINMAN, HOWARD & KATTEL, LLP,
ABC CORPORATIONS 1-10, JOHN DOES 1-10,
FIRST CENTRAL SAVINGS BANK,

                                    Defendants.
-------------------------------------------------------------X

        STIPULATION OF DISCONTINUANCE OF ADVERSARY PROCEEDING


        IT IS HEREBY STIPULATED AND AGREED by and between the undersigned parties,

by and through their undersigned counsel, that the above-captioned action, together with all

cross-claims and counterclaims, is hereby discontinued with prejudice and without costs or

disbursements to any party.

Dated: June 21, 2017
       Garden City, New York
      Case 1-15-01027-ess         Doc 17   Filed 06/21/17    Entered 06/21/17 15:23:37




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